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      Attorney(s) for Display Technologies, LLC
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  7
                       IN THE UNITED STATES DISTRICT COURT
  8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
      DISPLAY TECHNOLOGIES, LLC, §
 10                                   §
           Plaintiff,                 §              Case No. 2:21-cv-07507
 11
                                      §
 12   vs.                             §             DEMAND FOR JURY TRIAL
                                      §
 13
      FORACARE, INC.,                 §
 14                                   §
           Defendant.                 §
 15
      ________________________________§
 16

 17                                      COMPLAINT
 18         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this
 19   Complaint against ForaCare, Inc. (“Defendant” or “ForaCare”) for infringement of
 20   United States Patent No. 9,300,723 (the “‘723 Patent”).
 21                            PARTIES AND JURISDICTION
 22         1.     This is an action for patent infringement under Title 35 of the United
 23   States Code. Plaintiff is seeking injunctive relief as well as damages.
 24         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
 25   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
 26   infringement arising under the United States patent statutes.
 27         3.     Plaintiff is a Texas limited liability company with an address of 1 East
 28   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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  1          4.     On information and belief, Defendant is a California corporation with a
  2   principal place of business at 893 Patriot Drive, Suite D, Moorpark, CA 93021. On
  3   information and belief, Defendant may be served through its registered agent, Shumei
  4   Wu, at the same address.
  5          5.     This Court has personal jurisdiction over Defendant because Defendant
  6   has committed, and continues to commit, acts of infringement in this District, has
  7   conducted business in this District, and/or has engaged in continuous and systematic
  8   activities in this District.
  9          6.     Upon information and belief, Defendant’s instrumentalities that are
 10   alleged herein to infringe were and continue to be used, imported, offered for sale,
 11   and/or sold in this District.
 12                                            VENUE
 13          7.     On information and belief, venue is proper in this District under 28
 14   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
 15   of infringement are occurring in this District and Defendant has a regular and
 16   established place of business in this District.
 17                                            COUNT I
 18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
 19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
 20          9.     This cause of action arises under the patent laws of the United States
 21   and, in particular, under 35 U.S.C. §§ 271, et seq.
 22          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
 23   to enforce the ‘723 Patent and sue infringers.
 24          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
 25   communications,” is attached hereto as Exhibit A.
 26          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
 27   compliance with Title 35 of the United States Code.
 28          13.    Defendant has infringed and continues to infringe one or more claims,
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  1   including at least Claim 1 of the ‘723 Patent by making, using, and/or selling media
  2   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
  3   makes, uses, and/or sells the iFORA Diabetes Manager app, FORA Premium V10
  4   BLE Blood Glucose Monitor, associated software, hardware and/or apps, and any
  5   similar products (“Product”). Defendant has infringed and continues to infringe the
  6   ‘723 Patent in violation of 35 U.S.C. § 271.
  7         14.    Regarding Claim 1, the Product is a media system. The Product includes
  8   a media system (e.g., health app) configured to allow a user to view a media file (e.g.,
  9   health data) from a medical device by a media terminal (e.g., smartphone) from a
 10   media node (e.g., medical device) over a communication network (e.g., Bluetooth
 11   network) through a communication link.          Certain aspects of this element are
 12   illustrated in the screenshots below and/or those provided in connection with other
 13   allegations herein.
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            15.   The Product includes at least one media terminal disposed in an
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      accessible relation to at least one interactive computer network. For example, the
 17
      Bluetooth network is used for sending health data from a media node (medical device)
 18
      by detecting a smartphone (at least one media terminal) when the Product’s app is
 19
      installed on the smartphone and connected with the Product’s media node through a
 20
      Bluetooth network (i.e., the smartphone is in an accessible relationship with the
 21
      interactive computer network). Certain aspects of this element are illustrated in the
 22
      screenshots below and/or in those provided in connection with other allegations
 23
      herein.
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 15         16.   A wireless range is structured to permit authorized access to the at least
 16   one interactive computer network.      For example, the Bluetooth signals of the
 17   Product’s medical device (media node) have a range within which the smartphone
 18   (media terminal) may connect.
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            17.   At least one media node is disposable within the wireless range, wherein
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      the at least one media node is detectable by the at least one media terminal. For
 17
      example, the Product’s medical device (media node) is detectable by the media
 18
      terminal (smartphone). Certain aspects of this element are illustrated in the
 19
      screenshots below and/or those provided in connection with other allegations herein.
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              18.    At least one digital media file is initially disposed on at least one of the
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        at least one media terminal or the at least one media node and the at least one media
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        terminal is structured to detect the at least one media node disposed within the
   17
        wireless range. For example, the health data is initially disposed on the media node
   18
        (medical device/monitor) and the media terminal can detect the medical device when
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        it is within the appropriate range. Certain aspects of this element are illustrated in the
   20
        screenshots below and/or those provided in connection with other allegations herein.
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              19.   A communication link is structured to dispose the at least one media
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        terminal and the at least one media node in a communicative relation with one another
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        via the at least one interactive computer network. For example, the smartphone and
   20
        medical device are in a communicative relation over the Bluetooth network.
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              20.   The communication link is initiated by the at least one media terminal.
   22
        For example, when the user turns on Bluetooth on the smartphone (media terminal),
   23
        the smartphone initiates the communication link.
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   15         21.    The at least one media node and the at least one media terminal are
   16   structured to transmit the at least one digital media file therebetween via the
   17   communication link. For example, the smartphone/app and the medical device are
   18   structured to transmit health data from the device to the smartphone over the wireless
   19   network.
   20         22.    The communication link is structured to bypass at least one media
   21   terminal security measure for a limited permissible use of the communication link by
   22   the media node to only transferring the at least one digital media file to, and displaying
   23   the at least one digital media file on, the at least one media terminal. For example,
   24   the communication link is structured so that whenever the user installs the Product’s
   25   app on the smartphone (media terminal), the smartphone automatically connects
   26   (bypassing any security measures) with the Product’s medical device through
   27   Bluetooth code (i.e., media terminal security) whenever the smartphone comes to the
   28   range of the Bluetooth signals (for the limited purpose of transferring data form the
                                                  12
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    1   device to the smartphone).
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   25         23.   Defendant’s actions complained of herein will continue unless
   26   Defendant is enjoined by this court.
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    1         24.    Defendant’s actions complained of herein are causing irreparable harm
    2   and monetary damage to Plaintiff and will continue to do so unless and until
    3   Defendant is enjoined and restrained by this Court.
    4         25.    Plaintiff is in compliance with 35 U.S.C. § 287.
    5                                DEMAND FOR JURY TRIAL
    6         26.    Under Rule 38 of the Federal Rules of Civil Procedure, Plaintiff requests
    7   a trial by jury of any issues so triable by right.
    8                                   PRAYER FOR RELIEF
    9         WHEREFORE, Plaintiff asks the Court to:
   10         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
   11   asserted herein;
   12         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
   13   employees, attorneys, and all persons in active concert or participation with Defendant
   14   who receive notice of the order from further infringement of United States Patent No.
   15   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
   16   judgment going forward);
   17         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
   18   accordance with 35 U.S.C. § 284;
   19         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
   20         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
   21   entitled under law or equity.
   22   Dated: September 20, 2021                Respectfully submitted,
   23
                                                 /s/ Stephen M. Lobbin
   24                                            Attorney(s) for Plaintiff
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